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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

FELICIA ROBINSON                                                                     PLAINTIFF

V.                                                  CIVIL ACTION NO. 1:19-CV-121-SA-DAS

DAREN PATTERSON                                                                    DEFENDANT

                            ORDER AND DEFAULT JUDGMENT

       On June 17, 2019, Felicia Robinson initiated this action by filing her Complaint [1] against

Webster County, Webster County Sheriff’s Department, Sheriff Tim Mitchell, Santana Townsend,

and Daren Patterson. In an Order and Memorandum Opinion [54] entered on March 11, 2020, the

Court dismissed the federal claims against Webster County, the Sheriff’s Department, Mitchell,

and Townsend and declined to exercise supplemental jurisdiction over the state law claims asserted

against those Defendants. The Fifth Circuit affirmed this Court’s ruling in all respects on August

31, 2020. See [56]. Thus, the only remaining Defendant in this case is Daren Patterson.

       The Complaint [1] alleges that Sheriff Mitchell granted Patterson, an inmate of the Webster

County Jail, a “weekend jail pass” on September 1, 2018. During that weekend, Patterson was

allegedly involved in an altercation with Robinson at a pool hall in Eupora, Mississippi. Although

Sheriff Mitchell was allegedly aware of this incident, he later granted Patterson another “weekend

pass” for the weekend of November 2, 2018. In its Order and Memorandum Opinion [54], the

Court summarized the events of that weekend as follows:

                       Sheriff Mitchell again granted Patterson a “weekend pass”
               on the weekend of November 2, 2018. Robinson contends that,
               during the November 2, 2018 weekend pass, Patterson subjected her
               to “malicious and sadistic” abuse. Specifically, Robinson alleges
               that on the afternoon of November 2, 2018, Patterson threw a beer
               can at her, puncher her in the face, and threated to burn down her
               home. Later that evening, Patterson allegedly punched a hole in the
               wall of Robinson’s home and subjected her to verbal and physical
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                  abuse, causing Robinson to fear for her life. At approximately 9:23
                  p.m. that night, Robinson made a call to Dispatcher Santana
                  Townsend, who was a dispatcher with Webster County at the time,
                  seeking law enforcement assistance. Robinson purportedly placed
                  the call to Dispatcher Townsend’s cell phone, rather than the general
                  phone number for the Webster County Sheriff’s Department,
                  because she had a person relationship with Dispatcher Townsend.
                  Dispatcher Townsend did not dispatch law enforcement to
                  Robinson’s residence but instead placed another trusty on the phone
                  to speak to Patterson to calm him down. Patterson became even
                  more agitated following the phone conversation and never left
                  Robinson’s residence. Law enforcement was never dispatched to
                  Robinson’s home.

                          At approximately 12:30 a.m. the following morning,
                  Patterson, while still in an enraged state, purported threw Robinson
                  on the bathroom floor, punched her repeatedly, and poured “Liquid
                  Fire” on her in an apparent attempt to burn her alive. After a
                  struggle, Robinson eventually escaped from Patterson and tried to
                  travel to the hospital to seek treatment for her injuries, which
                  included significant burns. She was unable to leave the residence
                  without Patterson, and she traveled to the hospital with Patterson in
                  the passenger seat of her vehicle. When Robinson and Patterson
                  arrived at the hospital in the early morning hours of November 3,
                  2018, Robinson received extensive medical treatment for her
                  injuries and was later transferred to a burn treatment center in
                  Brandon, Mississippi. Patterson eventually returned to the Webster
                  County Jail and was released from custody sometime later.

[54] at p. 2-3.

        Particularly as to Patterson, Robinson’s Complaint [1] asserts claims pursuant to Section

1983 for violations of the Fourth, Eighth, and Fourteenth Amendments, in addition to state law

claims for assault and battery, false imprisonment, and intentional infliction of emotional distress.

Despite being personally served with process on June 20, 2019, Patterson has not filed an answer

or otherwise appeared in this case. See [7]. The Clerk of Court entered default against Patterson

on July 22, 2019. See [16]. Robinson has now filed a Motion for Default Judgment [59] against

him.




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       Rule 55 of the Federal Rules of Civil Procedure authorizes a district court to enter a default

judgment against a person who has failed to plead or otherwise defend a lawsuit filed against them.

See FED. R. CIV. P. 55. Here, the record reflects that Patterson has been served with process, but

he has failed to answer or otherwise appear in the case. Because Robinson has complied with all

prerequisites as set forth in the Federal Rules of Civil Procedure, the Court finds that judgment

should be entered.

       Accordingly, judgment is hereby entered in Robinson’s favor against Patterson as to

liability only. The Court will hold a separate hearing to determine the appropriate amount of

damages to award. Plaintiff’s counsel shall contact the Court within ten (10) days to schedule a

hearing on damages.

       SO ORDERED, this the 29th day of September, 2021.


                                                     /s/ Sharion Aycock
                                                           UNITED STATES DISTRICT JUDGE




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